                                                                          tgl-l
                                                                              zitlik'ts()i-EItif
                                                                                               é U.S.OIST (Joud)-
                                                                                  AfLYNCH3URG VA
                                                                                       FILED
                                                                                  MA2 13 2214
                   IN TH E U N IT ED STA TE S D IST R ICT C O U R T ,r
                 FOR THEWESTERN DISTRICT OFVIRGINI ) ,kk
                                                      .'.
                                                        Aj
                                                        yy
                                                         z,
                                                             ' ,
                                                           .y.,yy                    y.. ..
                                                                                              .
                                                                                                             .




 UNITED STATES OF AM ERICA                     )
                                               )
 V.                                            )          CivilAction No.6:14CV00005
                                               )
 W ILL IA M L .W A LLIS                        )          PR E TR IA L O R D ER

        Thecourtproposesthefollowing asapretrialscheduling orderpursuanttoFederalRule
 of CivilProcedure 16*.
                      ). JJ'nortzrf.p requests changes within 10 days,itwillconstitute the
 scheduling order in this case. Thecourtmay amend the order on itsJwn motion,ortheparties
 m ay am end the order's disclosure and Jgctwer.ppr
                                                  h.
                                                     ovisions by subm itting an agreed written
 plan thatsatisfestherequirementsofRule26+ .

                                         Sum m aa

        TRIAL DATE:          Contact Fay Coleman, scheduling clerk, at (434) 847-5722,
                             w ithin 14 days of this order for the purpose of setting a trial
                             date.

        PLA C E:             U N ITE D STA TES D ISTR ICT CO UR T
                             1101 CourtStreet
                             Lynchburg,VA 24504

       FED.R.ClV.P.26(f)CONFERENCE:                              14 daysfrom thisorder

       INITIAL DISCLOSURESUNDER FED.R.ClV.P.26(a):               30 daysfrom thisorder

       PLAG TIFFIS)INITIAL EXPERT DISCLOSURE:                    75 daysfrom thisorder

       DEFENDANTIS)INITIAL EU ERT DISCLOSURE:                    90 days from this order

       DEADLIN E TO COM PLETE DISCOVERY :                        90 days before trialdate
       DEADLINE TO FILE DISPOSITIVE M OTION S:                   75 daysbefore trialdate
       DEAD LINE FO R HEARING DISPO SITIVE M OTIONS: 45 daysbeforetrialdate




Case 6:14-cv-00005-NKM-RSB Document 5 Filed 03/13/14 Page 1 of 7 Pageid#: 11
                                     Trialand Sd tlem ent
                Thiscase issetforabench trial.

        2.      Proposed findings of fact and conclusions of law m ustbe tiled w ith the clerk of

 thecourtatleast7 dayspriorto trial,with copiesprovided to opposing cotm sel.

                M otions in lim ine mustbe filed with the clerk of courtatleast 14 days prior to

 trial,with copiesprovided to opposing counsel. Opposition briefsto any motion in lim ine must

 befiled with the clerk ofthecourtatleast7 dayspriortotrial.

        4.      lfthecasesettlesbeforetrialand thecourtdoesnotreeeive aproposed finalorder

 w ithin 30 days afterthe courtreceived oralorw ritten notitication ofthe settlem ent,the cotu'tw ill

 dismissthecasewith prejudice.
                                             M otions

        5.      Al1dispositive motionsm ustbe filed no laterthan 75 daysbeforetrialand m ust

 be heard or subm itted for decision no later than 45 days before trial. If the parties agree that a

 dispositive m otion is appropriate for decision w ithout oralargum entthey m usttile a stipulation

 no laterthan 45daysbeforetrialstatingthatthem otion isripefordecision.

                   supporting brief m ust accom pany a11 pretrial m otions, unless the m otion

 contains the legalargum entnecessary to supportitoriscertified to be tm opposed. lfa m otion

 thatis notunopposed has been filed before thisorder withoutlegalargum entto supportit,the

 m ovantmustfile a supporting briefwithin 14 daysofthe date ofthisorderorthem otion willbe

 disrnissed.

        7.     lfany motion,properly tiled and briefed,isto be opposed,a briefin opposition

 mustbetiledwithin 14daysofthedateofserviceofthemovant'sbrief(orwithin 14daysofthis
 orderifa motion and supporting briefwere served before thisorder). Exceptforgood cause


Case 6:14-cv-00005-NKM-RSB Document 5 Filed 03/13/14 Page 2 of 7 Pageid#: 12
 shown,ifa briefopposing a m otion isnottimely filed,the courtwillconsiderthem otion to be

 unopposed.lfa moving party desiresto subm ita reply brief,itmustbefiled within 7 daysofthe

 date ofservice ofthe briefopposing them otion. A surreply briefm ay notbe filed withoutprior

 leave ofthe court.
        8.      Exclusive of any accompanying exhibits,a brief may not exceed 25 pages in

 length using standard m argins,double-spaced lines,and a fontno sm allerthan lz-pointTim es,

 unlessthe filing party firstobtainsleaveofthecourtaftershowing good causewhy alongerbrief

 isnecessary.

                W henadispositivemotion,togetherwithitssupportingbriefandexhibitstorany
 otherbriefcombined with exhibits),consistsof50 ormorepages,thefiling party mustsend a
 paper courtesy copy ofthe docum ents to the cham bers ofthe presiding DistrictJudge at 1101

 CourtStreet,R oom 390,Lynchburg,V A 24504.

        10.     No motion,brief,orexhibitm ay be filed tmder seal,except as allowed by the

 m andatory provisionsofW .D .Va.Gen.R.9. Therequirem entsofRule 9 m ay notbem odified

 byastipulatedprotectiveorderorotheragreementoftheparties.SeeW .D.Va.Gen.R.9(g).
        11.     Ifany party desiresahearing on any dispositiveornondispositivem otion,then no

 later than 14 days after the filing ofthe lastbriefon the motion,thatparty m ustcontactFay

 Colem an,scheduling clerk,to set a hearing date. If no hearing on the m otion is necessary,the

 m ovingparty mustfileanoticethatthe motion isripefordecision,no laterthan 14 daysafterthe

 filing of the last brief on the m otion. In any event,if within 45 days of the filing of any

 dispositive ornondispositive pretrialm otion,no party has schtduled the motion forhearing or

 advised the courtthat the m otion is ripe for decision,the courtm ay deny the m otion w ith or

 withoutprejudice.


                                               3
Case 6:14-cv-00005-NKM-RSB Document 5 Filed 03/13/14 Page 3 of 7 Pageid#: 13
         12.    N ondispositive m otions,including motions for enlargem entof tim e,whetheror

 notopposed,m ay be acted upon atany tim e by the court,withoutawaiting aresponse,and any

 party adverselyaffected by such action mayrequestreconsideration,vacation orm odification.

                A11nondispositivepretrialmoticmsand issues,including any requested changesin

 thisorder,azehereby referred to United StatesM agistrate JudgeRobertS.Ballou pursuantto 28

 U.S.C.j636(b)(1)(A).
                                            D iscoverv

                Unlessthe partiesstipulateothenvise,within 14 daysofthe date ofthisOrder,the

 partiesmustconferand develop adiscoveryplan asrequired byRule26(9.
         15.    Unless the parties stipulate otherwise, initial disclosures as required by Rule

 26(a)(1)mustbemadewithin 30daysofthedateofthisOrder.
                A 1l discovery m ust be com pleted at least 90 days prior to trial. This schedule

 requires thatwritten discovery be served in sufficienttim e to allow the responding party tim e to

 respond before the cutoffdate for discovery.

         17. ExceptfordisclosurestmderRule26(a)(3)oftrialwitnessesand exhibits,which
 thepartiesm ustfile,thepartiesare notto file discovery and disclosure m aterialunlessand until

 actuallyused in the proceeding.

                                       ExpertW itnesses

        18.     Expert witnesses who are retained or specially em ployed to provide expert

 testim ony in the case orwhose dutiesasan em ployeeoftheparty regularly involvegiving expert

 testimony mustprepare awritten reportthatconformsto therequirementsofRule26(a)(2)(B).
 U nless the parties otherwise agree or the coul'totherw ise directs, the plaintiff m ust subm itthe

 w ritten reportofeach expertnot laterthan 75 days from the date ofthis order, and the defendant


                                                 4
Case 6:14-cv-00005-NKM-RSB Document 5 Filed 03/13/14 Page 4 of 7 Pageid#: 14
 mustsubmitthewritten reportofeach expertno laterthan 90 days from the date ofthisorder.

  Supplemental and additional reports may be thereafter subm itted, if subm itted ''in sufficient

 time'' that discovery,if desired, can be completed reasonably by the discovery cutoff date

 withouttmdue duplication and expense.

         19.    W ith respectto expertwitnesses who are notretained or specially employed to

 provide experttestim ony orwhose duties as an em ployee ofthe party do notregularly involve

 giving experttestim ony,such as a treating physician or clinician,the plaintiffm ust disclose the

 identity ofany such witnessand provide a summ ary ofa11opinions the witnesswillrenderand

 the basis therefore not laterthan 75 days from the date ofthis order,and the defendant must

 disclosethe identity ofany such witnessand provide a sum mary ofallopinionsthewitnesswill

 render and the basis therefore notlaterthan 90 daysfrom the date ofthisorder. Supplem ental

 and additionaldisclosures may be thereafter subm itled, if submitted 'in sufficient time''that

 discovery,ifdesired,can be completed reasonably by the discovery cutoffdate withoutundue

 duplication andexpense.

         20.    Any motion to exclude the testim ony of an expertbased on the sufficiency or

 reliability ofthe expert'stestim ony mustbefiled no laterthan thedeadlineforfiling m otionsfor

 summaryjudgment.
        21.     The parties shall exchange lists of the w itness they expectto callattrialno later

 than 21dayspriorto trial.Foreach witness,thelistshallincludethewitness'snam eand address

 and a sum m ary ofthe w itness's anticipated testim ony.




                                                 5
Case 6:14-cv-00005-NKM-RSB Document 5 Filed 03/13/14 Page 5 of 7 Pageid#: 15
                                              M ediation

                Attherequestofanyparty,thecourtwillreferthecasetothemagistratejudgeto
  conductm ediation.

                                   Joinder ofO thqr Parties

        23. ThecourtshallconsidermotionstojoinotherpartiesinaccordancewithRules19,
 20,and 21 ofthe FederalRules of CivilProcedure. Exceptfor good cause shown,any such

 m otion mustbe filedno laterthan45 daysfrom thedateofthisorder.

                                   A m endm entof Pleadines

        24.     The courtshallconsidera party's motion to nm end pleadingsin accordancewith

 Rule l5oftheFederalRulesofCivilProcedure. Exceptforgood causeshown,any such motion

 mustbetiled no laterthan 45 daysfrom thedate ofthisorder.

                                   lnteerated PretrialO rder

        25. No laterthan 7 daysbefore trialthepartiesshalljointly file aproposed pretrial
 orderbriefly sum m arizing the follow ing'
                                          .

                       any contested issuesof1aw thatrequirearulingbeforetrial;

                       the essentialelementsthataparty mustproveto tstablish any m eritorious

                       claimsremainingforadjudication,andthedamagesorotherreliefsought'
                                                                                      ,
                       the essentialelem ents that a party m ustprove to establish any m eritorious

                       defenses;

                   * them aterialfactsand theoriesofliability ordefense'
                                                                       ,


                       the issuesoffad eontested by eaeh party;

                       any contested issuesoflaw thatdo notrequirearuling beforetrial'
                                                                                     ,




                                                  6
Case 6:14-cv-00005-NKM-RSB Document 5 Filed 03/13/14 Page 6 of 7 Pageid#: 16
                     any stipulations;and

                  * any specialvoirdire questions.

        Forthose item s,ifany,on which thepartiesare tmableto agree,each party shallbrietly

  summarizeitspositioninaseparatelyfiledaddendum tothejointproposedpretrialorder.
        Itisso ORDERED .
                        'w-
                          kk/'l
        ENTEREDthist'
                    .
                    > dayofMarch,2014.

                                                     ç'''-xa -V .'
                                                > 1 D STA TES DISTRICT JUD G E




                                            7
Case 6:14-cv-00005-NKM-RSB Document 5 Filed 03/13/14 Page 7 of 7 Pageid#: 17
